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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                     Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         The Court ordered the parties to file a joint status report (JSR) by 3:00 pm on

13 December 2, 2020, in anticipation of the status conference scheduled at 1:30 pm on
14
     December 4, 2020. The parties submit this joint status report in accordance with the
15
16 Court’s instruction.
17 ///
18
19 ///
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21 ///
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     I.       DEFENDANTS’ POSITIONS
 1
 2         A. Update Regarding Government’s Implementation of Settlement
 3            Agreement

 4           SETTLEMENT                      DESCRIPTION                         NUMBER
                PROCESS
 5       Election Forms 1               Total number of executed          444 (260 Parents/184
                                        election forms received                Children)2
 6                                      by the Government
                                           • Number who elect             282 (157 Parents/125
 7                                             to receive                       Children)
                                               settlement
 8                                             procedures
                                           • Number who                    162 (103 Parents/59
 9                                             waive settlement                 Children)3
                                               procedures
10       Interviews                     Total number of class                        1734
11                                      members who received
                                        interviews
12                                         • Parents who                              91
                                               received
13                                             interviews
                                           • Children who                             82
14                                             received
                                               interviews
15       Decisions                      Total number of CFI/RFI                      71 5
                                        decisions issued for
16                                      parents by USCIS
17   1
         The number of election forms reported here is the number received by the Government as of
18       November 18, 2020.
     2
         The number of children’s election forms is lower than the number of parent election forms
19       because in many instances a parent electing settlement procedures submitted an election form on
         his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
20       entire family, but no separate form was submitted on behalf of the child.
     3
21     The number of children’s waivers is lower because some parents have submitted waivers only
       for themselves and some parents who have waived reunification also waived settlement
22     procedures and have therefore not provided a form for the child.
     4
       Some individuals could not be interviewed because of rare languages; these individuals were
23     placed in Section 240 proceedings. This number includes credible fear and reasonable fear
       interviews, as well as affirmative asylum interviews.
24   5
       This number is the aggregate of the number of parents whose negative CFI/RFI determinations
25     were reconsidered, number of parents whose negative CFI/RFI determination was unchanged,
       and individuals who were referred to 240 proceedings without interview because of a rare
26     language. This number excludes 12 cases where a parent already had an NTA from ICE or was
       already ordered removed by an IJ (which are included in the interview totals).
27
28

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                                          • Number of parents                       69 6
 1                                           determined to
                                             establish CF or RF
 2                                           upon review by
                                             USCIS
 3                                        • Number of parents                        2
                                             whose CF or RF
 4                                           finding remains
                                             negative upon
 5                                           review by USCIS
                                      Total number of CFI                           73 7
 6                                    decisions issued for
                                      children by USCIS
 7                                        • Number of                               73 8
                                             children
 8                                           determined to
                                             establish CF by
 9                                           USCIS
                                          • Number of                                0
10                                           children
                                             determined not to
11                                           establish CF by
                                             USCIS
12                                    Total number of                                22
                                      affirmative asylum
13                                    decisions by USCIS
                                          • Number of parents                        2
14                                           granted asylum by
                                             USCIS
15                                        • Number of parents                        5
16                                           referred to
                                             immigration court
17                                        • Number of                                39
                                             children granted
18                                           asylum by USCIS
                                          • Number of                                12
19                                           children
                                             referred/returned
20
     6
       This number includes parents who received positive CF/RF determinations upon reconsideration,
21     parents who received a Notice to Appear based on their child’s positive CF determination, and
       parents who were placed in Section 240 proceedings due to a rare language.
22   7
       This number is the aggregate of the number of children who received a positive CF determination,
23     the number of children who received a negative CF determination, and children who were
       referred to 240 proceedings without interview because of a rare language.
24   8
       This number includes children who received a positive CF determination, children who received
       a Notice to Appear as a dependent on their parent’s positive CF determination, and children who
25     were placed in Section 240 proceedings due to a rare language.
     9
26      This number includes children granted asylum as a dependent on their parent’s asylum
       application.
27
28

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                                              to immigration
 1                                            court
 2    Removals                         Number of class             109 Parents10
                                       members who have been
 3                                     returned to their country
                                       of origin as a result of
 4                                     waiving the settlement
                                       procedures
 5
 6         B. Expanded Class Members
 7            On April 25, 2019, the Court approved Defendants’ Plan for identifying
 8
     members of the expanded class. In advance of the Court’s October 25, 2019
 9
10 deadline, Defendants completed the process of identifying members of the expanded
11 class and produced spreadsheets identifying those individuals to Plaintiffs’ counsel
12
   and providing the latest available contact for those individuals from the
13
14 government’s databases.
15            On February 7, 2020, Defendants reached out to Plaintiffs to request that
16
     Plaintiffs provide Defendants with an update regarding their efforts to locate and
17
18 reunify members of the expanded class. Plaintiffs declined to provide much of the
19
     information requested by Defendants. Following multiple meet and confer
20
     discussions, on July 5, 2020, Plaintiffs provided Defendants with an updated
21
22 spreadsheet containing some information on members of the expanded class.
23
     Plaintiffs also identified members of that class about whom Plaintiffs requested to
24
     meet and confer regarding whether the government would agree to return those
25
26
     10
27        This number is as of November 18.

28

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     individuals to the United States. The parties are continuing to discuss this issue to
 1
 2 determine if it can be resolved or whether it will require intervention from the Court.
 3
            Having declined to provide the government with much of the information the
 4
 5 government requested regarding the Steering Committee’s efforts to contact
 6 members of the expanded class, Plaintiffs also never indicated to Defendants any
 7
     need for additional information or resources to assist their efforts. Nonetheless, since
 8
 9 the last status conference on October 22, 2020, Defendants have held multiple meet
10 and confer discussions with Plaintiffs regarding additional information that would
11
     assist with those efforts, and have provided spreadsheets containing updated
12
13 information from at least four different government databases, and expect to provide
14 additional information in the near future. Defendants are continuing to search for
15
     additional updated contact information and will provide it to Plaintiffs on a rolling
16
17 basis.
18      C. Government Processes, Procedures, and Tracking, for Separations Since
19         June 26, 2018.

20          Data Requested by Plaintiffs. Defendants continue to provide Plaintiffs
21
     updated reports containing information regarding parents and children separated
22
23 since the Court’s June 26, 2018 Order on a monthly basis. Given the relatively low
24 number of separations, and the fact that Defendants have been complying with the
25
   Court’s preliminary injunction for more than two years, Defendants propose that
26
27 going forward they will update Plaintiffs on a quarterly, rather than monthly, basis.
28

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           Processes and Procedures.
 1
 2         In the May 27, 2020 Joint Status Report, Defendants provided the court with
 3
     updated reporting regarding the various steps it has taken to implement Paragraph 5
 4
 5 of the preliminary injunction, ECF No. 83 at 24, ¶ 5, and improve the processes and
 6 procedures for information sharing between the agencies related to family
 7
     separations. Following the July 10, 2020 status conference, the Court ordered that
 8
 9 “Defendants shall provide a declaration from the Assistant Commissioner of OIT or
10 other appropriate designee setting out the status of the development of the UIP and
11
     estimated completion date. The declarant should also address the Court’s concerns
12
13 about how the UIP will enable parents in criminal custody access to their children’s
14 location information and how the UIP will assist in reunification efforts when a
15
     parent is transferred from criminal custody to immigration custody.” ECF No. 543
16
17 at 2. Defendants provided that information in the August 19, 2020, Joint Status
18 Report, including a declaration from Robert J. Costello, Executive Director, Office
19
   of Information Technology, Enterprise Services, U.S. Customs and Border
20
21 Protection, U.S. Department of Homeland Security. ECF No. 547. On October 20,
22 2020, Defendants provided another declaration from Mr. Costello on the progress of
23
   the UIP. ECF No. 556-1. In accordance with the Court’s most recent Order
24
25 Following Status Conference, ECF No. 558 at ¶ 3, Defendants attach hereto another
26
27
28

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     supplemental declaration from Mr. Costello regarding the continued progress of the
 1
 2 UIP.
 3
               The Court also ordered that the parties “shall continue to meet and confer on
 4
 5 the information gap between the Department of Justice (Bureau of Prisons and U.S.
 6 Marshal) and the Department of Health and Human Services (ORR).” Id. ¶ 1. The
 7
     parties held a call regarding this issue on December 1, 2020. The government also
 8
 9 has an internal call regarding these issues scheduled for December 3, 2020. The
10 government will continue to address this issue internally and with Plaintiffs, and
11
     expect to provide a further update to the Court on this issue in the next Joint Status
12
13 Report.
14
     II.       MS. L. PLAINTIFFS’ POSITION
15
          A. Steering Committee Outreach to Sponsors and Parents of Children of
16           Expanded Class Members
17
18             The government has provided eleven lists identifying 1,134 children of

19 expanded class members. The government has also identified 64 “recategorized”
20 deported parents from the original class, who the Steering Committee has sought to
                                                                         11
21 contact as part of its efforts to reach members of the expanded class. The
22
     11
          In its portion of the December 12, 2018 Joint Status Report, the government disclosed the
23 existence of what we call the “Recategorized Original Class”, i.e., members of the original class
24 who were not identified as part of the government’s initial disclosures in the summer of
   2018. The government only provided contact information for this group in February 2019, after
25 the Steering Committee’s efforts to contact original class members had concluded – and so, as a
   logistical matter, the Steering Committee has conducted outreach to the 64 parents in this group
26 who were deported following separation from their children, as part of the Steering Committee’s
   efforts to contact expanded class members.
27
28

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 1 Steering Committee’s recent efforts have been targeted at locating the parents of
 2 this group of 1,198 (1,134 plus 64) children. 12
 3         Of these 1,198 children, the Steering Committee has reached the parents (or
 4 their attorneys) of 570 children. This represents an increase of 41 childrens’
 5 parents since our last status report. We describe below the status of our continuing
 6 efforts to reach the parents of the remaining 628 children.13
 7         The 628 children fall into two groups. First, there are approximately 295
 8 children whose parents are believed to have been removed from the United States
 9 following separation from their children, and our efforts to locate them in their
10 country of origin are ongoing. Second, there is a group of approximately 333
11 children whose parents are believed to be in the United States, and efforts to locate
12 them in the United States are also ongoing.
13         Notably, of the 628 children whose parents we have not yet been in contact
14 with, we have, for 168 of those children, been in touch with another family
15 member.
16          Steering Committee Efforts to Locate Parents
17         For all parents with whom the Steering Committee has not yet established
18 contact, the Steering Committee continues to engage in a multi-faceted approach in
19 an attempt to locate and establish communication with the separated parent.
20         First, as previously reported, the Steering Committee attempts to reach all
21 parents, sponsors and attorneys by telephone. Where those efforts are not
22 successful, the Steering Committee has engaged in time-consuming and arduous
23         12
               Because some of the parents of these children entered with more than one
24   child, there are 1,082 parents in this combined group.
            13
               To avoid public confusion, we also explain the 666 number that has been
25   reported in the media. That figure was the number of children whose parents had
     not been located as of November 5, 2020, which was a few weeks after the last
26   JSR. The parents (or their attorneys) of 3 children were contacted after the last JSR
     but before November 5, 2020, with parents of an additional 38 children having
27   been contacted after November 5, 2020 (for a total of 41 since our last JSR).
28

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 1 on-the-ground searches for parents in their respective countries of origin.
 2 Following a suspension due to the COVID-19 pandemic, limited physical on-the-
 3 ground searches for separated parents have resumed where possible to do so while
 4 protecting the health of personnel working with the Steering Committee and
 5 members of vulnerable communities in separated parents’ home countries. The
 6 Steering Committee intends to continue physical on-the-ground searches while it
 7 remains safe to do so, and will continue to update the Court on its progress,
 8 particularly if such searches must be limited or suspended again due to travel
 9 restrictions or health risks.
10         Also, as previously reported, the Steering Committee has established toll-
11 free telephone numbers in the United States, Guatemala, Honduras, Mexico and El
12 Salvador to receive inbound phone calls from potential members of the expanded
13 class. The Steering Committee has distributed this number both by email and U.S.
14 Mail to a number of non-governmental organizations and other community
15 organizations in the United States, who may be able to help us locate parents
16 because they work in the communities these parents are likely to have contact with.
17 In addition, the Steering Committee sent letters in Spanish and English to
18 approximately 1,600 addresses provided by the government for the potential class
19 members that the Steering Committee has not yet reached. These letters explain
20 our role in this action and invite parents to contact the Steering Committee to call
21 these toll-free numbers. The Steering Committee continues to monitor voicemail
22 boxes reachable via these toll-free numbers, and plans to renew its mailing effort
23 with the new address information received for children and their attorneys from the
24 government on November 25, 2020.
25         Additionally, as previously reported, the Steering Committee has undertaken
26 broad-based media outreach efforts to publicize the toll-free phone numbers
27 created by the Steering Committee in Spanish language media. The Steering
28

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 1 Committee continues to work to identify opportunities to broadly disseminate the
 2 toll-free numbers through various media to maximize visibility to potential Ms. L.
 3 class members, including most recently by seeking to collaborate on such media
 4 outreach initiatives with other non-profit organizations. The Steering Committee
 5 will continue to update the court on these efforts.
 6        The Steering Committee has also recently received additional contact
 7 information for a number of these families from Seneca Family of Agencies
 8 (“Seneca”), a non-profit organization that has contracted with the Department of
 9 Health and Human Services to connect certain Ms. L. class members in the United
10 States with mental health providers, pursuant to a preliminary injunction in Ms.
11 J.P., et al. v. William P. Barr, et al. (2:18-cv-06081-JAK-SK, C.D. Cal.). The
12 Steering Committee is re-attempting telephonic communication with all families
13 for whom new contact information is available via Seneca, in addition to the
14 efforts underway using new information provided by the government as described
15 above.
          Finally, the Defendants recently provided the Steering Committee with
16
   additional information from another government database that had not previously
17
   been disclosed (the Executive Office for Immigration Review). Among other
18
   things, the information includes phone numbers that had not previously been
19
20 disclosed. Because the information was provided on the Wednesday before
21 Thanksgiving, the Committee has not yet had time to determine the full scope or
22 usefulness of this new information.
      B. Information Sharing
23
24        The parties met and conferred on December 1 on remaining information-
25 sharing issues, and expect continued discussions.
26
27
28

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      C. Return of Additional Deported Parents
 1
 2        The parties are discussing avenues for relief for deported parents, and will
 3 continue to meet and confer, and report back to the Court.
 4
      III. MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 5
 6       The parties continue to work together to implement the settlement agreement
 7 approved on November 15, 2018. Class counsel are providing the Government with
 8
   signed waiver forms as they are received from class members, and class counsel are
 9
10 continuing to work on outreach efforts to class members who may qualify for relief
11 under the settlement. The parties continue to meet and confer on issues related to
12
   settlement implementation as they arise.
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     DATED: December 2, 2020         Respectfully submitted,
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